Case 2:16-cr-00012-LGW-BWC Document 613 Filed 02/06/17 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION


 UNITED STATES OF AMERICA
                                                    CR216-12
        V.



 CALVIN LEWIS



                                        ORDER


        After an independent review of the record, the Court concurs with the Magistrate

 Judge's Report and Recommendation, to which no objections have been filed.

 Accordingly, the Report and Recommendation of the Magistrate Judge is adopted as the

 opinion of the Court.

        So ORDERED, this // day of February, 2017.


                              LISA GODBEY WOOD,CHIEF JUDGE
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF GEORGIA
